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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             McALLEN DIVISION

NEW LIFE ADULT DAY CARE,                     §
                                             §
           Plaintiff,                        §
                                             §
VS.                                          §          CIVIL NO. 7:17-cv-361
                                             §
PHILADELPHIA INDEMNITY                       §
INSURANCE COMPANY,                           §
                                             §
           Defendant.                        §

           DEFENDANT PHILADELPHIA INDEMNITY INSURANCE
                  COMPANY’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Pursuant to 28 U.S.C. §§ 1332, 1441(b) and 1446(a), Philadelphia Indemnity

Insurance Company, the Defendant in the above-styled case, files this Notice of

Removal from the 206th Judicial District Court of Hidalgo County, Texas to the

United States District Court for the Southern District of Texas, McAllen Division.

                                     INTRODUCTION

      1.       The Plaintiff is New Life Adult Day Care, Inc. (“Plaintiff”).

      2.       The Defendant is Philadelphia Indemnity Insurance Company

(“Defendant”).

      3.       Plaintiff commenced this first-party insurance case on August 31,

2017. Plaintiff asserted causes of action arising under Texas law for Defendant’s

alleged breach of contract, violation of the Prompt Payment of Claims Act (Tex. Ins.

Code. Ch. 542), unfair claims settlement practices in violation of chapter 541 of the

Texas Insurance Code, and breach of the duty of good faith and fair dealing.
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